  Case 3:20-cv-00401-JAG Document 83 Filed 12/01/21 Page 1 of 2 PageID# 418




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

KYRA CANNING,
         Plaintiff,

V.
                                                      Lead Civil Action No. 3:20-cv-401
 WILLIAM SMITH, et al.,
           Defendants.
JARROD BLACKWOOD, et al., individually
and on behalf of a class of similarly situated
individuals,
               Consolidated Plaintiffs,

V.


JOHN/JANE DOES I-X et al.
           Consolidated Defendants.
 MARIA LOURDES MAURER,
                Plaintiff,

 V.
                                                      Civil Action No. 3 :20-cv-668

 CITY OF RICHMOND, et al.,
                Defendants.

                                           ORDER
       This matter comes before the Court on its own initiative. On December 1, 2021, the Court

received a bill from Mark E. Rubin totaling $1,306.25 for services rendered in his capacity as

special master (the "November bill"). Pursuant to the Order appointing Mr. Rubin, the Court will

allocate payment of the November bill among the parties.

       Upon due consideration, the Court ORDERS the following:

       1) William Smith shall pay $653.13 of the November bill;

       2) Thomas H. Roberts & Associates PC shall pay $326.56 of the November bill; and
  Case 3:20-cv-00401-JAG Document 83 Filed 12/01/21 Page 2 of 2 PageID# 419




       3) Commonwealth Law Group and Halperin Law Center shall pay $326.56 of the

November bill. 1

       The parties shall pay their bills in accordance with any agreements they may have regarding

the payment of costs and fees related to these cases.

       It is so ORDERED.

       Let the Clerk send a copy of this Order to all counsel of record.



Date:      l
         December 2021
Richmond, VA                                                               Isl   1"




       1
        Commonwealth Law Group and Halperin Law Center can apportion payment among
themselves however they prefer.
                                                 2
